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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS



CIVCON SERVICES, INC.,
                                                        Case No. 20-CV-01821
             Plaintiff,

v.

ACCESSO SERVICES LLC,

             Defendant.


                             DEFENDANT’S MOTION TO DISMISS

         Defendant Accesso Services, LLC (“Accesso” or “Defendant”), by its attorneys, and

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, moves to dismiss the

Complaint filed by CivCon Services, Inc. (“CivCon” or “Plaintiff”) in its entirety. In support of

its Motion, Defendant incorporates the Memorandum of Law filed herewith, and states,

generally, that Plaintiff’s Complaint fails to state a claim upon which relief can be granted

pursuant to the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.

§ 1961, et seq.

         Specifically, Plaintiff’s Complaint fails to plead that supposed racketeering acts were so

related and continuous to constitute a “pattern” as required under 18 U.S.C. § 1961(5).

Plaintiff’s Complaint also must be dismissed because there is no allegation of an effect on

interstate commerce, another essential element under RICO. Next, Plaintiff’s Complaint fails to

adequately plead the existence of a RICO conspiracy under 18 U.S.C. § 1962(d). Furthermore,

Plaintiff’s claims are preempted by the National Labor Relations Board (“NLRB”) because the

alleged underlying conduct that constitutes the predicate act giving rise to the RICO claims is

wrongful only by virtue of the National Labor Relations Act (“NLRA”). Finally, Plaintiff lacks



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standing to obtain injunctive relief. For all of these reasons, Plaintiff’s RICO claims fail as a

matter of law and must be dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.

         WHEREFORE, Defendant respectfully requests that this Honorable Court grant its

Motion to Dismiss and enter an Order dismissing all claims in Plaintiff’s Complaint with

prejudice.


Dated: July 21, 2020                        Respectfully submitted,

                                            POLSINELLI PC

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                                 CERTIFICATE OF SERVICE

      I certify that on the 21st day of July 2020, a true and correct copy of the foregoing
document was electronically filed with the Clerk of the Court using the Court’s CM/ECF system,
which will send notification to the following attorneys of record:

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